Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 1 of 11 Page|D 5040

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FL()RIDA
FORT MYERS DIVISION
DONIA GOINES,
Case No: 2:17-cv-00656-JES-CM
Plaintiff,
v.
LEE MEMORIAL HEALTH SYSTEM
d/b/a CAPE CORAL HOSPITAL;
and JEOVANNI HECHAVARRIA, RN,

Defendants.
/

PLAINTIFF’S MOTION FOR LEAVE OF COURT FOR THE DISCL()SURE OF

SUPPLEMENTAL EXPERT OPINIONS AND/OR TO REOPEN DISCOVERY FOR
THE UPDATE EXPERT OPINIONS OF FRED HYDE. M.D.

Plaintiff, DONIA GOINES, by and through the undersigned counsel, hereby files this
Motion for Leave of Court for the Disclosure of Supplernental EXpert Opinions and/or the
Reopening of Discovery so that the Plaintift’s EXpert Witness, Fred Hyde, M.D., can provide
supplemental opinions based upon newly provided documents, and so that Det`endant may have
an opportunity to take the update date deposition of Fred Hyde, M.D.

l. On July 9, 2018, this Court entered an Amended Case Managernent and Scheduling
Order establishing the discovery deadline as September 21, 2018. [DE 55].

2. Pursuant to that order, the Plaintift’s expert disclosures Were scheduled to be July
30, 2018. [DE 55].

3. The Plaintiff complied With that deadline and provided, in part, the opinions of Fred
Hyde, M.D., as to hospital management, administration, policy, and standard of care.

4. On July 16, 2018, Plaintiff served its Second Request for Production on LEE

MEMORIAL HEALTH SYSTEM, Which included three (3) requests seeking risk management,

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 2 of 11 Page|D 5041

Case No.: 2217-cv-OO656-JES-CM
Gol'nes v. Lee Memorial, et al.
Plaintift"s Motion For Leave Of Court
Page 2 of 11

human resources and disciplinary action records regarding all allegations of sexual assaults against
LEE MEMORIAL HEALTH SYSTEM employees from 2006 to 2016. [DE 70 at 3; DE 70-1].

5. On August 15, 2018, LEE MEMORIAL HEALTH SYSTEM responded to the
Second Request for Production, objecting to the three (3) requests [DE 70 at 3; DE 70~2].

6. On August 29, 2018, Plaintiff filed a Motion to Compel seeking, in part, to compel
LEE MEMORAL HEALTH SYSTEl\/I’s production of documents in response to the specified
three requests [See generally DE 70].

7. On September 14, 2018, this Court granted the PlaintifF s Motion to Compel in part.
[DE 76].

8. The Court ordered that LEE MEl\/IORIAL HEALTH SYSTEM produce the
aforementioned documents by September 28, 2018. [DE 76].

9. 0n September 28, 2018, LEE MEMORIAL HEALTH SYSTEM filed a motion to
extend the time to comply With the Court’s Order September 14, 2018 Order. [DE 77]

10. Starting on September 28, 2018, but continuing until October 2, 2018, the
Defendant produced sexual assault investigative records, as Well as human resources records
corresponding to those investigations In total, there Were more than 2,200 pages of records
produced to Plaintift`s counsel.

1 1. By the time the Defendant produced these documents to the Plaintiff, the Plaintiff’ s
Hospital management, administration, policy, and standard of care expert, Fred Hyde, M.D., had
already been deposed. In fact, Dr. Hyde Was deposed on September 20, 2018, eight (8) days before

the Defendant produced a single document responsive to the request

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 3 of 11 Page|D 5042

Case No.: 2:17-cv-00656-JES-CM
Goines v. Lee Memorial, et al.
Plaintiff s Motion For Leave Of Court
Page 3 of 11

12. On October 5, 2018, a mere three (3) days after the last document was produced by
Defense counsel, Plaintiff counsel provided all 2,200 pages to Fred Hyde, M.D. Dr. Hyde had
pre-scheduled obligations (both teaching and personal), which prevented his immediate review of
the 2,200 pages However, Dr. Hyde has since reviewed all of the records and has supplemental
expert opinions involving the hospital’s customs, practice, and policies with regards to sexual
assaults Specifically, Dr. Hyde’s opinions detail the deliberate indifference of LEE MEMC)RIAL
HEALTH SYSTEM with regard to its handling of sexual assault allegations and the protection of
patient rights

13. The Plaintiff intends on supplementing its initial expert report to the Defendant with
these opinions and the Plaintiff also wishes to make Dr. Hyde available for an update deposition
so that the Defendant can be fully advised of his opinions prior to trial.1

14. The opinions that are being supplemented by Dr. Hyde are not new opinions -
rather, it is his interpretation of past sexual assault investigative materials in conjunction with his
already expressed opinions that LEE MEMORIAL HEALTH SYSTEM had a policy custom
and/or practice of indifference towards protecting the safety and well-being of its patients ~
specifically from sexual assaults

15 . The supplemental report merely provides additional evidentiary and documented
support to the earlier disclosed opinions Dr. Hyde’s initial report states in part:

a. Froln its negligence in hiring and failure in supervision ofelnployees,

to its inadequate response to an allegation of sexual assault Cape Coral

 

1 Defendant has reference these documents and the past sexual assaults in a declaration attached to its Motion for
Summary Judgment. Preventing the Plaintiff from providing an expert opinion on the hospitals custom, practice and/or
policy would be tantamount to excluding Plaintiffs entire 42 U.S.C. 1983 claim. This would be unjust considering
that the Defendant’s objection to producing the documents and the late disclosure of October 2, 2018.

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 4 of 11 Page|D 5043

Case No.: 2:17-cv-00656~JES~CM
Goines v. Lee Memorial, et al.
Plaintist Motion F or Leave Of Court
Page 4 of 11

Hospital demonstrated indifference and carelessness in protecting the
safety and well-being of its patients,' and

b. Cape Coral Hospital patients were denied their most basic right - - the
provision of care in an environment which is safe and free from abuse.

See Fred Hyde, M.D. expert report, attached hereto as Exhibit “A”.

16. The documents produced by the Defendant establish that LEE MEMORIAL
HEALTH SYSTEM had a custom, practice and/or policy of failing to protect the safety and well-
being of its patients, routinely failed to adhere to its own policies and procedures involving sexual
assaults, and routinely showed a systemic policy and culture of disbelieving patients when they
articulated allegations that a health care provider sexual assaulted them. These opinions go directly
to the heart of the Plaintiff 42 U.S.C § 1983 claims

17. The Plaintiff now requests that this Court grant leave of court so that the Plaintiff
can produce the supplemental opinions and that the Court reopen discovery on a limited basis so
that the Defendant can have an opportunity to take the updated deposition of Dr. Hyde prior to
trial.

18. Dr. Hyde was unable to provide these opinions at the time that the expert
disclosures were submitted and at the time of his deposition because the documents had not been
produced by the Defendantl LEE cannot claim surprise by these opinions because it was the in
sole custody and control of these documents until October 2, 2018.

MEMORANDUM OF LAW

This court has broad discretion in managing pretrial discovery matters Klay v. All

Defendants, 425 F.3d 977, 982 (11th Cir.2005) (citing Perez v. Miami-Dade County, 297 F.3d

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 5 of 11 Page|D 5044

Case No.: 2:17-cv-00656-JES-CM
Goines v. Lee Meniorial, et al.
Plaintist Motion For Leave Of Court
Page 5 of 11

1255, 1263 (l lth Cir.2002)). Fed.R.Civ.P. 26(a) and (e) require parties to disclose all bases of their
experts' opinions and to supplement timely their expert disclosures upon discovery of an omission
or as required by court order. Moreover, the court is mindful that the Federal Rules of Civil
Procedure strongly favor full discovery whenever possible. See Fed.R.Civ.P. 26(b)(1); Moore v.
Armour Pharmaceutical Co., 927 F.2d 1194, 1197 (1lth Cir.l99l). Fed.R.Civ.P. 37(c)(1) states
that when “a party fails to provide information or identify a witness as required by [Fed.R.Civ.P.]
26(a) or (e), the party is not allowed to use that information or witness to supply evidence on a
motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”
Here, the supplementing of Dr. Hyde’s report is substantially justified by the timing of the
production of LEE l\/IEMORIAL HEALTH SYSTEl\/l’s sexual assault investigation documents
Other district courts have allowed for the supplementing of expert reports after discovery
deadlines See Indian Harbor ]ns. Co. v. Pelican ’s Roost on Bay, LLC, 2007 WL 1491296 (N.D.

Florida 2007).

The Court may grant a request for an extension of a time of a deadline for “cause shown.”
Fed. R. Civ. P., Rule 6(b). The district court has considerable discretion in ruling upon an
application for an extension to a filing deadline. Mendez v. Banco Popular de Puerto Rico, 900
F.2d 4, 6-7 (1st Cir. 1990). Pursuant to Federal Rules of Civil Procedure, Rule 16(b)(4), a
scheduling order “may be modified only for good cause and with the judge's consent.” “[I]n the
interest of justice and sound judicial administration, an amendment of a pretrial order should be
permitted where no substantial injury will be occasioned to the opposing party, the refusal to allow

the amendment might result in injustice to the movant, and the inconvenience to the court is slight.”

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 6 of 11 Page|D 5045

Case No.: 2:17-cv-00656»JES-CM
Goines v. Lee Memorial, et al.
Plaintiffs Motion For Leave Of Court
Page 6 of ]1

United States v. Varner, 13 F.3d 1503, 1507 (1lth Cir.1994) (quoting Sherman v. United States,

462 F.za 577, 579 (sih Cir.i972)).

Further, the diligence of the moving party should be considered in determining whether
there is good cause to extend a deadline See Sosa v. Airprint Systems, Inc., 133 F.3d 1417, 1418
(l lth Cir.l998) (“The good cause standard precludes modification unless the schedule cannot be

met despite the diligence of the party seeking the extension.”) (internal quotations omitted).

Here, the Plaintiff has been diligent in having these records reviewed as soon as they were
received and as soon as the Plaintiff’ s expert was available to review them. lt is important to note
that because of the voluminous nature of the records, as well as Fred Hyde’s, M.D., schedule, he
was forced to review the materials over time to accommodate his professional and personal
schedule. The Plaintiff is not attempting to introduce a “new expert” or even “new opinions.”
Rather, Plaintiff is supplementing opinions of an existing expert based on a review of documents
that were not produced at the time that the original deadline was set. The Plaintiffs needed to
supplement Dr. Hyde’s initial report is substantially justified by the disclosure date of the records

which occurred well after the discovery deadline.

Federal Rule of Civil Procedure 26(e) States:

(1) In General. A party who has made a disclosure under Rule 26(a)-or who has
responded to an interrogatory, request for production, or request for admission_
must supplement or correct its disclosure or response:

(A) in a timely manner if the party learns that in some material respect the
disclosure or response is incomplete or incorrect, and if the additional or corrective
information has not otherwise been made known to the other parties during the
discovery process or in writing; or

(B) as ordered by the court.

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 7 of 11 Page|D 5046

Case No.: 2117-cv-00656-IES-CM
Goines v. Lee Memorial, et al.
Plaintiff’ s Motion For Leave Of Court
Page 7 of 11

(2) Expert Witness. For an expert whose report must be disclosed under Rule
26(a)(2)(B), the party's duty to supplement extends both to information included in
the report and to information given during the expert's deposition Any additions or
changes to this information must be disclosed by the time the party's pretrial
disclosures under Rule 26(a)(3) are due. 2

Here, Plaintiff is under an obligation to provide to Defendant the supplemental opinions of Dr.
Hyde as these opinions are based on information that was not originally known or in Plaintiff’s

possession The pre-trial reports are not due for another two (2) months

“[R]eopening discovery. . . require[s] a showing of good cause [.]” U.S. ex rel. Pogue v.
Diahetes Treatznent Ctrs. of Am., 576 F.Supp.2d 128, 133 (D.D.C.2008) (citation omitted); accord
LCVR 16.4 (“The court may modify the scheduling order at any time upon a showing of good
cause.”). “What constitutes good cause necessarily varies with the circumstances of each case.”
6A Charles Alan Wright, Arthur R. l\/liller & Mary Kay Kane, Federal Practice and Procedure
(“6A Wright Miller & Kane”) § 1522.2 (3d ed. 2010). Good cause can be shown, “[i]n general, if
the party seeking relief can show that the deadlines cannot reasonably be met despite the party's
diligence [.]” Id,,' see also Capitol Sprinkler Inspection, lnc. v. Guest Servs., Inc., 630 F.3d 217,
226 (D.C.Cir.2011) (quoting 6A Wright Miller & Kane § 15 52.1 (2d ed. 1990) (citation omitted)).
Courts have considered multiple factors when determining whether to grant motions to reopen
discovery. These include “(1) whether trial is imminent; (2) whether the request is opposed; (3)
whether the non-moving party would be prejudiced; (4) whether the moving party was diligent in
obtaining discovery within the guidelines established by the court; (5) the foreseeability of the
need for additional discovery in light of the time allotted by the district court3 and (6) the likelihood

that the discovery will lead to relevant evidence.” Childers v. Slater, 197 F.R.D. 185, 188

 

2 Rule 26(a)(3) is a party’s pre-trial disclosure which are scheduled for February 5, 2019.

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 8 of 11 Page|D 5047

Case No.: 2217-cv-00656-JES-CM
Goines v. Lee Memorial, et al.
Plaintiff’s Motion For Leave Of Court
Page 8 of 11

(D.D.C.2000); see also Smith v. United States, 834 F.2d 166, 169 (lOth Cir.1987); Vineberg v.
Bissonnette, 548 F.3d 50, 55 (1st Cir.2008). “[W]hether to reopen discovery is committed to the
sound discretion of the trial court[.]” Childers, 197 F.R.D. at 187 (internal quotation marks and

citation omitted).

Here, the Childers factor weighs in favor of the limited reopening of discovery. First, trial
is not imminent In fact, trial is not scheduled to start for more than four (4) months Second, the
Defendant will not be prejudiced by the supplemental opinions In fact, the Defendant’s defense
will be aided by the limited reopening of discovery. lt cannot be said that LEE l\/IEMORIAL
HEALTH SYSTEl\/I will be surprised by these opinions considering it had access and sole control
of these documents well before the Plaintiff has access to them. Also, LEE MEMORIAL
HEALTH SYSTEM’s Motion for Summary Judgment already provides an opinion and
interpretation of the documents.3 Conversely, the Plaintiff will be severely prejudiced if she is
unable to provide an expert opinion on LEE l\/lEl\/IORIAL HEALTH SYSTEM’s custom, practice
and/or policy of responding to, investing, and reacting to sexual assaults as evidenced by the sexual
assault investigation documents Essentially, if the Plaintiff is unable to provide an expert opinion
regarding those documents it would make the production of the documents meaningless Third,
the Plaintiff was diligent in attempting to obtain the discovery and had LEE l\/IEMORIAL
HEALTH SYSTEM not objected to the production request, the documents would have been
produced in time to be reviewed by Plaintiff s expert. Fourth, additional discovery is not needed

- the only relief that Plaintiff is requesting is the ability to provide the Defendants with

 

3 Defendant’s Motion for Summary Judgment includes the declaration of Debbie Wiles which discusses the
investigations of past sexual assaults from 2012 ~ 2016.

 

Case 2:17-cv-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 9 of 11 Page|D 5048

Case No.: 2:17-cv-00656-JES-CM
Goines v. Lee Memorial, et al.
Plaintiff s Motion For Leave Of Court
Page 9 of 11

supplemental opinion and allow the Defendants to take Dr. Hyde’s update deposition on the
supplemental opinions Finally, the supplemental opinions are relevant evidence because they
prove and establish that LEE MEMORIAL HEALTH SYSTEM violated DONIA GOINES’

Constitutional Rights under 42 U.S.C. § 1983.

Again, these opinions are not “new” or “different” than what Fred Hyde, M.D. has already
expressed - the supplement is Dr. Hyde’s interpretation and opinions of the customs, practice
and/or policies that LEE MEMORIAL HEALTH SYSTEM was deliberately indifferent to the
safety and well-being of its patients with regard to sexual assaults While he initially expressed
this opinion in his initial report, he did not have the documentation of the 16 investigations The
Rule 26(e) requirement that parties supplement their discovery responses is not eliminated just
because the stipulated or ordered schedule does not include a deadline for submitting supplemental

responses

Other courts, when faced with similar circumstances have allowed for the supplement
opinions to be provided See Luma Corp. v. Stryker Corp., 226 F.R.D. 536, 544 (S.D. West
Virginia 2005); see also Pennington Partners, LLC v. Midwest Steel Holding Co. , 271 F.R.D. 462
(U.S. District Court, D. Maryland 2010); and Richardson v. Korson, 905 F.Supp.Zd 193 (D.D.C.

November 27, 2012).

In making such a determination, to allow supplemental reports from experts, Courts
typically consider the following factors: (1) the explanation for making the supplemental
disclosure at the time it was made; (2) the importance of the supplemental information to the
proposed testimony of the expert, and the expert's importance to the litigation; (3) potential

prejudice to an opposing party; and (4) the availability of a continuance to mitigate any prejudice

 

Case 2:17-cV-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 10 of 11 Page|D 5049

Case No.: 2:17-cv-00656-JES-CM
Goines v, Lee Memorial, et al.
Plaintiff’ s Motion For Leave Of Court
Page 10 of 11

Tucker v. Ohtsu Tire & Rul)ber Co., Ltd. , 49 F.Supp.2d 456, 460 (U.S. District Court, D. l\/laryland
1999). Denying Fred Hyde’s supplemental report would be tantamount to precluding the evidence
contained within the 2,200 pages of sexual assault investigations Such a ruling would be a severe

sanction to the Plaintiff.

The Plaintiff, DONIA GOINES, respectfully requests this Motion for Leave of Court for
the Disclosure of Supplemental Expert Opinions and/or the Reopening of Discovery so that the
Defendant may have an opportunity to take the update date deposition of Fred Hyde, l\/I.D., be

granted.

LoCAL RULE 3.01(2) CERTIFICATE

Pursuant to Local Rule 3.01(g), the undersigned has conferred with Angelique Lyons,
attorney for Defendant, LEE MEMORIAL HEALTH SYSTEM d/b/a CAPE CORAL HOSPITAL
who indicated that the Defendant opposes the relief requested herein.

Plaintiff s counsel certifies that he called pro se Defendant, JEOVANNI
HECHAVARRIA, and left a message to which JEOVANNI HECHAVARRIA did not respond to.
Plaintiff counsel further communicated the relief requested via email (as has been pro se
Defendant’s customary practice throughout this case) and he has indicated that he objects to this
request

Respectfully submitted this 5 day of December 2018

Respectfully submitted,
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Case 2:17-cV-00656-.]ES-CI\/| Document 115 Filed 12/05/18 Page 11 of 11 Page|D 505O

Case No.: 2:17~cv-00656-JES-CM
Goines v. Lee Memorial, et al.
Plaintist Motion For Leave Of Court
Page 11 of 11

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/s/Ryan A. Fogg
BY:
RYAN A. Fooo (68773)

 

CERTIFICATE oF SERvICE

l certify that on 5 D-Q-C@¢~l<’-U/, 2018 I electronically filed with the Clerk of Court this
Plaintiff` s l\/[otion for Leave of Court for the Disclosure of Supplemental Expert Opinions and/or
to Re-Open of Discovery Deadline for the Update Expert Opinions of F red Hyde, M.D., and which
will send electronic copy hereof to the following:

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